Case 1:24-cv-01036-SOH         Document 45            Filed 09/18/24    Page 1 of 5 PageID #: 194




                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                                EL DORADO DIVISION

 Randy Dewayne Rogers,

                Plaintiff,                            Case No. 1:24-cv-01036-SOH
 v.
                                                      Chief Judge Susan O. Hickey
 Columbia County et al.,

                Defendants.

                                 JOINT RULE 26(f) REPORT

        Pursuant to Federal Rule of Civil Procedure 26(f), Local Rule 26.1, and the Court’s Initial
Scheduling Order (ECF 40), the following parties to this case (Randy Dewayne Rogers, as
Administrator of the Estate of Randy James Rogers, and on his own behalf; Columbia County;
Magnolia Regional Medical Center; Emergency Staffing Solutions; and Radiology Associates,
P.A.), through their undersigned counsel, respectfully submit this Joint Rule 26(f) Report.

        Counsel for the foregoing parties held a telephone conference on September 6, 2024.
 The conference lasted approximately 36 minutes. During the course of the conference the parties
 discussed matters set out in Rule 26(f) and Local Rule 26.1, and they respectfully submit the
 following:

        (1)   Any changes in timing, form, or requirements of mandatory disclosures
              under Fed.R.Civ.P. 26(a). None.

        (2)   Date when mandatory disclosures were or will be made. October 1, 2024.

        (3)   Subjects on which discovery may be needed. Mr. Rogers’s medical history and
              condition during his detention at the Columbia County jail between May 20 and July
              8, 2022; the medical care (including medications) provided to Mr. Rogers during his
              period of detention; the circumstances surrounding Mr. Rogers’s emergent medical
              needs on July 8, 2022, and the response by defendants and their agents/employees to
              those needs; the policies and practices of the defendants relating to Mr. Rogers’s
              medical needs during his detention at the Columbia County jail; and the damages
              suffered as a result of Mr. Rogers’s medical condition and death. All issues of liability
              and damages will require discovery, along with facts and circumstances surrounding
              the allegations described in the plaintiff’s complaint allegedly caused by defendants’
              negligence; injuries and damages claimed by plaintiff; the decedent’s background,
              medical history, courses of treatment, and prognoses; facts and circumstances
              surrounding defendants’ defenses; and any other issued raised in the pleadings for
              this matter. If additional information comes to light during the discovery process, it
              may be that additional discovery may be required to investigate such information.


                                                  1
Case 1:24-cv-01036-SOH       Document 45           Filed 09/18/24    Page 2 of 5 PageID #: 195




       (4)   Whether any party will likely be requested to disclose or produce information
             from electronic or computer-based media. The parties anticipate that
             production of electronically stored information will be requested, and the parties
             have agreed to meet and confer separately to develop a mutually agreed protocol
             governing the identification, gathering, and production of ESI. The defendants
             affirm that the normal method of production of electronically-stored information
             shall be by production of a printout or a pdf-format electronic version. However,
             if embedded data are requested, production shall be by producing the file in its
             native state where practical or in a mutually-agreeable alternative format if it is
             not practical to produce the information in native format. Plaintiff takes the
             position that, given that the parties have agreed to meet and confer to develop an
             ESI protocol, specifying the specific means of producing ESI is premature in this
             Rule 26(f) report. Instead, Plaintiff submits that matters such as the format of
             production should be given consideration and agreed to as part of a negotiated
             ESI protocol.

             If so:

             (a)      whether disclosure or production will be limited to data reasonably
                      available to the parties in the ordinary course of business; The parties
                      anticipate that production will primarily come from data reasonably
                      available to the parties in the ordinary course of business, but are unable
                      to assess whether such production will come exclusively from such
                      sources.

             (b)      the anticipated scope, cost and time required for disclosure or
                      production of data beyond what is reasonably available to the parties
                      in the ordinary course of business; The parties are unable to assess
                      this factor at this time. However, should additional discovery beyond that
                      which is reasonably available to the parties be sought, the parties agree
                      to confer regarding the costs of copying and production at the time the
                      requests for such information are made. The parties agree that whether
                      data is considered reasonably available will turn on whether the
                      discovery of said data is “proportional to the needs of the case” as that
                      term is used in Federal Rule of Civil Procedure 26(b)(1).

             (c)      the format and media agreed to by the parties for the production of
                      such data as well as agreed procedures for such production; The
                      parties anticipate entering into a written protocol for the gathering and
                      production of electronically stored information.

             (d)      whether reasonable measures have been taken to preserve potentially
                      discoverable data from alteration or destruction in the ordinary course
                      of business or otherwise; The parties have represented to one another
                      that reasonable measures are in place to prevent alteration or destruction


                                               2
Case 1:24-cv-01036-SOH        Document 45          Filed 09/18/24    Page 3 of 5 PageID #: 196




                      of evidence, including electronic data kept in the ordinary course of
                      business.

             (e)      other problems which the parties anticipate may arise in connection
                      with electronic or computer-based discovery. Plaintiff anticipates
                      requesting and gathering information stored on cellphones and similar
                      devices. Plaintiff also anticipates gathering medical records relating to
                      the care provided to other detainees in addition to Mr. Rogers, and
                      communications and documents relating to such care. Such discovery
                      may complicate electronic discovery in this case, and will at a minimum
                      require the entry of a HIPAA-qualified protective order permitting the
                      production of such information. Defendants who are healthcare
                      providers note that they are obligated under HIPAA not to disclose PHI
                      related to patients other than the decedent and object to the production
                      of medical records of other individuals. Plaintiff notes that 45 C.F.R. §
                      164.512(e) specifically permits the disclosure of third-party PHI if HIPAA-
                      qualified protective order is in place. Defendants assert that as to
                      electronic information to be produced in this matter, if the data can be
                      printed, the parties will make the data available in hard copy format. If
                      the data cannot be printed, the parties will provide the data in a format
                      mutually agreed to by the parties. Plaintiff takes the position that details
                      regarding the format of production for ESI should be discussed and
                      agreed to by the parties as part of a negotiated ESI protocol. As Plaintiff
                      has noted, the parties have agreed to meet and confer to develop such a
                      protocol. As such, Plaintiff submits that specifying the means of
                      production in a Rule 26(f) report is premature.

       (5)   Date by which discovery should be completed. See paragraph 11 below.

       (6)   Any needed changes in limitations imposed by the Federal Rules of Civil
             Procedure. Given the number of defendants in this case and the nature of Plaintiff’s
             Monell allegations, Plaintiff anticipates requiring depositions in excess of the ten-
             deposition limit imposed by Rule 30(a)(2)(A)(i). Otherwise the parties do not
             anticipate changes in the limitations imposed by the Federal Rules of Civil
             Procedure.

       (7)   Any orders, e.g. protective orders, which should be entered. The parties
             anticipate requiring entry of a general protective order governing confidential
             information, as well as a HIPAA-qualified protective order covering the protected
             health information of Mr. Rogers and third-party detainees, pursuant to 45 C.F.R. §
             164.512(e). Defendants who are healthcare providers note that they are obligated
             under HIPAA not to disclose PHI related to patients other than the decedent and
             object to the production of medical records of other individuals. Plaintiff notes that
             45 C.F.R. § 164.512(e) specifically permits the disclosure of third-party PHI if
             HIPAA-qualified protective order is in place.



                                               3
Case 1:24-cv-01036-SOH        Document 45          Filed 09/18/24    Page 4 of 5 PageID #: 197




       (8)   Any objections to initial disclosures on the ground that mandatory disclosures
             are not appropriate in the circumstances of the action. None.

       (9)   Any objections to the proposed trial date. Yes. The parties anticipate a trial date
             of approximately ten trial days. Pursuant to the Court’s Initial Scheduling Order
             (ECF 40), the proposed trial date is August 4, 2025. Counsel for several of the
             defendants have pre-set trial dates that conflict with this trial date. Counsel for
             Radiology Associates, P.A., has a trial set in Pulaski County Circuit Court for August
             5 through 28, 2025. Counsel for Magnolia Regional Medical Center has a three-
             week jury trial in Pulaski County Circuit Court ending on August 1, 2025, three four
             to five-day jury trials scheduled in September of 2025, two week-long jury trials
             scheduled in October of 2025, and one week-long trial in November of 2025. Defense
             counsel proposes a jury trial setting in early to mid-2026. In addition, Plaintiff is
             attempting to effectuate service of various individual defendants by working with
             counsel for institutional defendants for whom Plaintiff believes the individual
             defendants are or were employed. Plaintiff has not yet been able to complete service
             of the defendants by this means, however, and anticipates requesting a 30-day
             extension to complete service pursuant to Rule 4(m). Plaintiff respectfully submits
             that the discovery period and trial date should be extended by a corresponding period
             in order to provide adequate discovery periods for all the defendants.

       (10) Proposed deadline for joining other parties and amending the pleadings.
            November 15, 2024.

       (11) Proposed deadline for completing discovery. As set forth in Paragraph 5, the
            Court’s proposed deadline to complete all discovery is April 7, 2025. For the
            reasons set forth in paragraph 9, supra, the Parties request that a new trial date be
            set and that the discovery period be adjusted to accommodate the trial schedules of
            all counsel involved and to permit adequate discovery of all defendants after
            effecting service. However, the Parties submit that discovery should be completed
            120 days before the ultimately scheduled trial date.

       (12) Proposed deadline for filing motions other than motions for class certification.
            Pursuant to computations provided in the Court’s Initial Scheduling Order (ECF
            40), the proposed deadline for dispositive motions is May 6, 2025. For the reasons
            set forth in paragraph 9, supra, the Parties request that a new trial date be set and
            that the motions deadline be adjusted to correspond with a new trial setting.
            However, the Parties submit that the motions deadline should be 90 days before the
            ultimately scheduled trial date.

       (13) Class certification: In the case of a class action complaint, the proposed
            deadline for the parties to file a motion for class certification. Class
            certification will not be sought in this case.




                                               4
Case 1:24-cv-01036-SOH         Document 45       Filed 09/18/24        Page 5 of 5 PageID #: 198




 Dated: September 18, 2024                   Respectfully submitted,

 /s/                                         /s/
 Mariam T. Hopkins – AR Bar #88109           Stephen H. Weil
 Julie M. Hancock – AR Bar #2000069
 Anderson, Murphy & Hopkins, L.L.P.          Jon Loevy pro hac vice
 101 River Bluff Drive, Suite A              Stephen H. Weil pro hac vice
 Little Rock, Arkansas 72202                 Megan Porter pro hac vice
 501-372-1887                                Loevy & Loevy
 Hopkins@amhfirm.com                         311 N. Aberdeen Street
 Hancock@amhfirm.com                         Third Floor
                                             Chicago, IL 60607
 Attorneys for Defendant Radiology           312-243-5900
 Associates, P.A.                            weil@loevy.com

                                             Attorneys for Plaintiff

 /s/                                         /s/
 Carson Tucker (2006090)                     Doug Noorwood – AR Bar #97087
 Dustin K. Doty (2013144)                    Alison Lee – AR Bar # 2006087
 Wright, Lindsey & Jennings LLP              Noorwood & Noorwood, P.A.
 200 West Capitol Avenue, Suite 2300         1 East Center
 Little Rock, Arkansas 72201-3699            Suite 320-A
 (501) 371-0808                              Fayetteville, AR 72701
 FAX: (501) 376-9442                         479-235-4600
 ctucker@wlj.com                             alison@norwoodattorneys.com
 ddoty@wlj.com
 Attorneys for Defendant Magnolia            Attorneys for Plaintiff
 Regional Medical Center

 /s/                                         /s/
 Lane O. Krieger (2016034)                   Jason E. Owens (2003003)
 Emily N. Richard (pro hac)                  Daniel K. Faulkner (2002168)
 Wiggins Sewell & Ogletree                   Jason Owens Law Firm, P.A.
 3100 Oklahoma Tower                         P.O. Box 850
 210 Park Avenue                             Conway, AR 72033-0850
 Oklahoma City, OK 73102                     501-764-4334
 405-232-1211                                501-764-9173 (telefax)
 405-235-7025 (fax)                          owens@jowenslawfirm.com
 lkrieger@wsolaw.net                         faulkner@jowenslawfirm.com
 erichard@wsolaw.net
                                             Attorneys for Columbia County
 Attorneys for Defendant Emergency
 Staffing Solutions (ESS)




                                             5
